                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

OWNERS INSURANCE COMPANY,                 )
                                          )
                    Plaintiff,            )
                                          )
vs.                                       )   Case No. 18-CV-104-NJR-RJD
                                          )
DRAKE HOMES CORPORATION and               )
SARAH BUSH LINCOLN HEALTH                 )
CENTER,                                   )
                                          )
                    Defendants.           )


                     JUDGMENT IN A CIVIL ACTION

DECISION BY THE COURT.

      This matter having come before the Court, and the Court having rendered a

decision,

      IT IS ORDERED AND ADJUDGED that pursuant to the Order entered on July

12, 2018, judgment is entered in favor of Owners Insurance Company. Owners Insurance

Company has no duty to defend or indemnify Drake Homes Corporation as to any

claims made by Sarah Bush Lincoln Health Center that arise out of the commercial

construction project between Drake Homes Corporation and Sarah Bush Lincoln Health

Center. Owners Insurance shall recover costs from Drake Homes Corporation.

      DATED: July 12, 2018

                                              JUSTINE FLANAGAN, Acting Clerk

                                              By: s/ Deana Brinkley
                                                     Deputy Clerk

APPROVED: ___________________________
          NANCY J. ROSENSTENGEL
          United States District Judge
